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   8                     UNITED STATES DISTRICT COURT
   9                    CENTRAL DISTRICT OF CALIFORNIA
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  11 WILLIAM A. SOKOLOWSKI,
  12                  Plaintiff,
  13             v.                              Case No. SACV13-01277-JVS (ANx)
  14 WESTERN DIGITAL CORP., et al.,
                                                 DISMISSAL ORDER AND FINAL
  15 Defendants,                                 JUDGMENT
  16 and
                                                 Judge:    Hon. James V. Selna
  17 STEC, INC., a California Corporation,       Ctrm.     10C
  18                  Nominal Defendant.
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                                                              Case No. 13-CV-01277 JVS(ANx)
                                             1                      DISMISSAL ORDER AND
                                                                          FINAL JUDGMENT
Case 8:13-cv-01277-JVS-AN Document 19 Filed 01/10/14 Page 2 of 2 Page ID #:662


   1          The Court has received and reviewed the Parties’ Joint Stipulation
   2 Regarding Settlement Agreement, filed January 9, 2014. Based upon that Joint
   3 Stipulation, and for good cause shown, IT IS HEREBY ORDERED that this action
   4 is dismissed with prejudice, with each party to bear its own costs.
   5          The Court directs immediate entry of this Final Judgment by the Clerk of the
   6 Court.
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   8 IT IS SO ORDERED.
   9 DATED: January 10, 2014
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  11                                             THE HONORABLE JAMES V. SELNA
  12                                             UNITED STATES DISTRICT JUDGE
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                                                 2                       DISMISSAL ORDER AND
                                                                               FINAL JUDGMENT
